         Case
          Case2:12-cr-00268-JAD-CWH
                2:12-cr-00268-JAD-CWH Document
                                      Document168  Filed03/01/17
                                               167 Filed 03/06/17 Page
                                                                   Page11
                                                                        ofof
                                                                           33



 1   DANIEL G. BOGDEN
     United States Attorney
 2   District of Nevada
     KIMBERLY M. FRAYN
     Assistant United States Attorney
 3   501 Las Vegas Boulevard South
     Suite 1100
 4   Las Vegas, Nevada 89101
     702-388-6336/ Fax 702 388-5087
 5   Kimberly.frayn@usdoj.gov

 6   Counsel for Plaintiff United States

                                  UNITED STATES DISTRICT COURT
 7

 8
                                           DISTRICT OF NEVADA
 9

10
       UNITED STATES OF AMERICA,                          CASE NO.: 2:12-cr-00268-JAD-CWH
11

12
                         Plaintiff;                       STIPULATION TO CONTINUE
13
                                                          SENTENCING DATE
14
             vs.
15
                                                          (First Request)
16
       YOUNG HIE CHOI,
17

18
                         Defendant.
19          IT IS HEREBY STIPULATED AND AGREED, by and between Kimberly Frayn,

20   Assistant United States Attorney, counsel for the United States of America; Kathleen Bliss,

21   counsel for defendant Young Hie Choi, that the sentencing hearing currently scheduled for April

     17, 2017, at 9:00 a.m., be VACATED and reset to a time convenient for the Court, but not earlier
22
     than ninety days from the current setting, that is on or after Monday, July 17, 2017. This stipulation
23
     is entered into based upon the following:
24
             1. The government requires additional time to analyze the defense experts’ report
        Case
         Case2:12-cr-00268-JAD-CWH
               2:12-cr-00268-JAD-CWH Document
                                     Document168  Filed03/01/17
                                              167 Filed 03/06/17 Page
                                                                  Page22
                                                                       ofof
                                                                          33



 1
                regarding the monetary losses at issue. This analysis and discussion is required to
 2              arrive at a total restitution amount attributable to this defendant, a calculation which
 3              is necessary for the sentencing hearing. It is in the interests of judicial economy that

 4              the parties exhaust attempts to reach an agreed resolution prior to sentencing. The

                parties are working diligently to resolve the issue without having a contested hearing.
 5
             2. Counsel for the United States, Assistant United States Attorney Kimberly M. Frayn,
 6
                will be out of the office on medical leave for approximately two months beginning
 7
                March 3, 2017.
 8
             3. The defendant is not incarcerated and does not object to the continuance.
 9           4. The parties agree to the continuance. This is the first request to continue the
10              sentencing hearing date filed herein.

11
     Dated this 1st day of March 2017.
12
     DANIEL G. BOGDEN
     United States Attorney
13
     /S/ Kimberly M. Frayn_____________              /S/ Kathleen Bliss
14
     Kimberly M. Frayn                               Kathleen Bliss, Esq.
15   Assitant United States Attorney                 Attorney for defendant Young Hie Choi
     Attorney for the United States
16

17

18

19

20

21

22

23

24


                                                 2
        Case
         Case2:12-cr-00268-JAD-CWH
               2:12-cr-00268-JAD-CWH Document
                                     Document168  Filed03/01/17
                                              167 Filed 03/06/17 Page
                                                                  Page33
                                                                       ofof
                                                                          33



 1

 2                               UNITED STATES DISTRICT COURT

 3

 4                                      DISTRICT OF NEVADA

 5

 6     UNITED STATES OF AMERICA,                         CASE NO.: 2:12-cr-00268-JAD-CWH

 7

 8                      Plaintiff;                       ORDER TO CONTINUE SENTENCING

 9                                                       HEARING

10          vs.

11

12     YOUNG HIE CHOI,

13                      Defendant.

14   Good cause appearing,
            IT IS THEREFORE ORDERED that the sentencing hearing currently scheduled for
15
                                                                       July 24, 2017 at the
     Monday, April 17, 2017, at 9:00 a.m., be vacated and continued to _____________________ at
16   the hour of ____:____ ___.m.;
                 hour of 9:00 a.m. or to a time and date convenient to the court.
17          DATED this
            DATED this _______ day
                       6th day of  of March,
                                  March,     2017.
                                         2017.

18
                                                  _______________________________
19
                                                  UNITED STATES DISTRICT JUDGE
20

21

22

23

24


                                                     1
